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     Attorneys for Defendant
   6 NATIONAL STRENGTH AND CONDITIONING ASSOCIATION
   7                        UNITED STATES DISTRICT COURT
   8                     SOUTHERN DISTRICT OF CALIFORNIA
   9
  10 CROSSFIT, INC., a Delaware                      Case No. 14CV1191 JLS KSC
     corporation,,
  11                                                 JOINT MOTION FOR
                   Plaintiff,                        DETERMINATION OF
  12                                                 DISCOVERY DISPUTE;
           v.                                        MEMORANDUM OF POINTS AND
  13                                                 AUTHORITIES
     NATIONAL STRENGTH AND
  14 CONDITIONING ASSOCIATION, a                     PARTIES’ DECLARATIONS AND
     Colorado corporation,,                          EXHIBITS FILED SEPARATELY
  15                                                 IN SUPPORT THEREOF
                   Defendant.
  16                                                 DATE: NONE SET
                                                     TIME: NONE SET
  17                                                 CRTRM: 4A
  18
             TO THIS HONORABLE COURT:
  19
             The parties hereto jointly request the ruling of the Court on a protective order
  20
       pursuant to FRCP Rule 45(d)(3)(A)(iii), protecting against disclosure of highly
  21
       confidential financial information contained in contracts of Defendant, NATIONAL
  22
       STRENGTH AND CONDITIONING ASSOCIATION, a Colorado corporation
  23
       ("NSCA") with third-party Lippincott Williams & Wilkins ("LWW"), sought by
  24
       Plaintiff CROSSFIT, INC., a Delaware corporation, pursuant to subpoena.
  25
       I.    NSCA'S ARGUMENT
  26
               A. Background.
  27
             This dispute arises from a subpoena CrossFit served to LWW nearly a year
  28

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   1 ago, on January 29, 2015. [Braga decl. ¶2; Exhibit A]
   2         As is pertinent to this motion, the subject subpoena sought “all documents and
   3 communications concerning any partnerships, affiliations (whether formal or
   4 informal), or other relationship between [LWW] and the [NSCA].” CrossFit did not
   5 seek to enforce the subpoena until October 2015, after it served a subsequent notice
   6 of the 30(b)(6) deposition LWW.1 At that point, LWW produced redacted versions
   7 of the publishing agreements between LWW and NSCA, without disclosing any
   8 confidential financial or revenue information [Braga decl.¶3; collectively Exhibit B]
   9 in October or November, 2015.
  10         NSCA did not and does not object to production of the subject documents in
  11 their redacted state, subject to the Joint Protective Order filed August 16, 2014.
  12 [Dkt 12] NSCA does object, however, to the disclosure of unredacted version of the
  13 subject documents as they are irrelevant, and contain sensitive and confidential
  14 information, namely, the payment by NSCA to LWW for its services under the
  15 publishing agreements and royalty payments by LWW to NSCA under the same.
  16 [Braga decl. ¶2; Exhibit A, pp. 7-8.] This is especially true given that this Court has
  17 noted that NSCA’s financial business projections were confidential, subject to a
  18 right of privacy, and that disclosure of the same was not relevant to CrossFit's case.
  19 [Dkt 58] NSCA considers the publishing agreements to be confidential, private and
  20 irrelevant to any issue in this matter, and subject to the Court's Order. [Braga decl.
  21 ¶5]
  22         It was not until December 15, 2015 that counsel for NSCA became aware that
  23 CrossFit was demanding that LWW produce unredacted copies of the publishing
  24 agreements. Thereafter, counsel for NSCA wrote to counsel for CrossFit to advise
  25 that NCSA objected to its attempts to obtain disclosure of private financial
  26   1
      The subsequent subpoena is not the subject of this motion. However, for the
  27 Court’s reference it has been included to the Declaration of Brandon K. Braga as
  28 Exhibit E.

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   1 information from LWW. [Braga decl.¶6; Exhibit C]
   2        NSCA met and conferred with both LWW—who did not want to obstruct any
   3 subpoena—and with CrossFit during January 2016. [Braga decl.¶7; collectively,
   4 Exhibit D] The parties reached an impasse on or about January 25, 2016, when
   5 CrossFit continued to demand the unredacted contracts and that NSCA seek judicial
   6 relief to prohibit LWW’s production of the documents. [Braga decl. ¶ 8; Exhibit D]
   7        Thus, this motion for protective order is timely, brought within 45 days of the
   8 event giving rise to the dispute, as contemplated by the Court's Chambers' Rules,
   9 Rule V. A. This protective order is sought as to the second October 2015 subpoena
  10 to LWW in which LWW produced the redacted publishing agreement(s) between
  11 NSCA and LWW, and is not, as CrossFit continues to argue, based upon the January
  12 2015 subpoena..
  13        A.    NSCA Has Not Controlled LWW
  14        CrossFit erroneously contends that NSCA has "instruct[ed] a third-party…to
  15 not produce documents." [CrossFit's Argument "CA" 7] No evidence supports this
  16 statement, nor does CrossFit even attempt to point to any.
  17        CrossFit contends that NSCA's publisher, LWW, also hosts a software
  18 program used to record the JSCR's peer review process, to which CrossFit wanted
  19 access. [CA 7-8] NSCA obtained the cooperation of LWW in order to comply with
  20 the Court's discovery order and provide the requested information. [Braga decl.
  21 ¶11.] CrossFit argues that this shows control over LWW. [CA 8] Not so. NSCA
  22 has worked with LWW to gather information. It has never told LWW what to do in
  23 response to a subpoena.
  24        In fact, since CrossFit admits that NSCA never contacted LWW about the
  25 first January 2015 subpoena to LWW [CA 9], this shows that there was no
  26 instruction or direction whatsoever from NSCA to LWW as to how to respond.
  27 CrossFit did nothing.
  28        The unredacted publishing agreements are subject to a motion to quash or for

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   1 a protective order on the grounds of that they involve private, confidential and
   2 irrelevant matters. NSCA is objecting to the subpoena based upon the grounds of
   3 "privileged or confidential" information, as contemplated in Rankine Roller Bearing
   4 Co. of Am., Inc., 2013 U.S. Dist. LEXIS 109827, *12 (S.D. Cal. Aug. 5, 2013).
   5 CrossFit's argument to the contrary ignores the entire purpose for redaction of the
   6 private financial information contained in the agreement(s). [CA 15]
   7         In addition, they are subject to protection based upon this Court's prior Order
   8 re Joint Motion for Determination of Discovery Dispute re Production of Metadata
   9 and Financial Records filed July 15, 2015. [Dkt 58] They are privileged and not
  10 relevant to any issue in this case.
  11          B.   This Motion Is Timely
  12         NSCA presented this motion to CrossFit’s counsel for filing as a joint motion
  13 within forty-five days after NSCA learned that CrossFit sought the unredacted
  14 documents at issue. The motion is not brought too late. CrossFit erroneously
  15 focuses on the first subpoena, which it never sought to enforce. [CA 14] Rather, this
  16 motion is directed at the second subpoena served in October 2015. Whether
  17 CrossFit believes it or not, counsel for NSCA did not become aware of the demand
  18 for unredacted contracts based upon the second subpoena to LWW until December
  19 15, 2015. Meet and confer efforts were made and the parties reached an impasse on
  20 or about January 25, 2016. This motion is brought within 45 days of the event
  21 giving rise to this dispute under the Court's Chambers' Rules (which are ignored by
  22 CrossFit). NSCA did not waive its right to bring this motion. Clearly, the time to
  23 object came and went without NSCA even knowing about the second subpoena. No
  24 waiver can be found based on these facts.
  25         NSCA’s motion is therefore timely. As set forth above, NSCA's motion
  26 complies with this Court's Chamber's Rules.
  27          C. CrossFit Should Request Production From NSCA
  28         As an initial matter, CrossFit should be required to attempt to seek the

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   1 contracts in issue from NSCA, a party to this case, and not attempt to make a non-
   2 party produce confidential documents.
   3          "In general, there is a preference for parties to obtain discovery from one
   4 another before burdening non-parties with discovery requests. See, e.g., Moon, 232
   5 F.R.D. at 638 (because "plaintiffs have not shown they have attempted to obtain
   6 these documents from defendant, the Court finds that, at this time, requiring [the]
   7 non-party. . . to produce these documents is an undue burden"); Insituform
   8 Technologies, Inc. v. CAT Contracting, Inc., 914 F.Supp. 286, 287 (N.D. Ill. 1996)
   9 (holding a party should not be permitted to seek information from a non-party that
  10 they can obtain from the opposing party); Davis v. Ramen, 2010 U.S. Dist. LEXIS
  11 115432, at *3 (E.D. Cal. May 11, 2010) (denying a request for a subpoena duces
  12 tecum because the plaintiff had not demonstrated that the records were only
  13 obtainable through the non-party). Consequently, where plaintiffs have not shown
  14 they attempted to obtain documents from the defendant in an action prior to seeking
  15 the documents from a non-party, a subpoena duces tecum places an undue burden on
  16 a non-party." Soto v. Castlerock Farming & Transp., Inc., 282 F.R.D. 492, 505
  17 (E.D. Cal. 2012).
  18          This matter should be litigated between the parties and not through a
  19 subpoena to LWW. Notably, CrossFit does not argue that it has ever asked NSCA to
  20 provide the subject contracts and/or that NSCA refused. It vaguely states that it
  21 intends to bring a separate joint discovery motion pertaining to a request for
  22 production. [CA 11], but even if it involves the publishing agreements, this issue is
  23 clearly not resolved and should be litigated between the parties, not through a third-
  24 party.
  25           D. NSCA's Financial Information Is Confidential and Private.
  26          FRCP Rule 45(d)(3) permits a motion to quash or modify a subpoena to be
  27 brought which "requires disclosure of privileged or other protected matter…."
  28 [FRCP 45(d)(3)(A)(iii)]

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   1         Sensitive financial information is a recognized area entitled to protection, and
   2 Federal Courts generally recognize a right to privacy of financial information.
   3 E.E.O.C. v. California Psychiatric Transitions, 258 F.R.D. 391, 394-395 (E.D. Cal
   4 2009) Indeed, this Court has noted that NSCA’s annual revenue from its
   5 certifications, licensing and educational programs as well as its business plans and
   6 revenue projections are confidential, subject to a right of privacy, and that disclosure
   7 of the same were not relevant to CrossFit's case. [Dkt 58] As is the case with those
   8 documents, there is no legitimate reason for CrossFit to be permitted to obtain
   9 similarly confidential information, especially through a third party.
  10         The revenue information in the publishing agreements is privileged,
  11 confidential and not relevant, as this Court has ruled on a similar motion [Dkt 58],
  12 and a review of the contracts demonstrates that the royalty payment is not generated
  13 from the views of a specific article, which appears to be the primary argument made
  14 by CrossFit here. [CA 9, 10] CrossFit argues that because so many views/purchases
  15 of the article were allegedly made, that this evidence is relevant to show that NSCA
  16 had a financial motive [CA 10], when NSCA could not have known about the
  17 purported "popularity" of the article beforehand, or that it is relevant to damages
  18 because CrossFit seeks disgorgement of profits made [CA 10], when as shown
  19 above, the contracts do not attribute royalties to the "popularity" of a particular
  20 article. Neither of these arguments is persuasive as a basis to permit disclosure of
  21 NSCA's private financial information.
  22         B.    The Requested Information Has No Relevance to This Case.
  23         "Although irrelevance is not among the litany of enumerated reasons for
  24 quashing a subpoena found in Rule 45, courts have incorporated relevance as a
  25 factor when determining motions to quash a subpoena. Goodyear Tire & Rubber Co.
  26 v. Kirk's Tire & Auto Servicenter, 211 F.R.D. 658, 662 (D. Kan. 2003). Specifically,
  27 under [former] Rule 45(c)(3)(A), "[a]n evaluation of undue burden requires the
  28 court to weigh the burden to the subpoenaed party against the value of the

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   1 information to the serving party[,]" Travelers Indem. Co., 228 F.R.D. at 113, and, in
   2 particular, requires the court to consider: 'such factors as relevance, the need of the
   3 party for the documents, the breadth of the document request, the time period
   4 covered by it, the particularity with which the documents are described and the
   5 burden imposed.' Id. (quoting IBM, 83 F.R.D. at 104)." Moon v. SCP Pool Corp.,
   6 232 F.R.D. 633, 637 (C.D. Cal. 2005)
   7         The documents LWW produced responsive to CrossFit’s subpoena contain
   8 amounts NSCA pays to LWW for publishing services provided by LWW and
   9 royalties NCSA receives from LWW. As to amounts NSCA pays to LWW for
  10 publishing services provided by LWW, this information is private financial
  11 information which is completely irrelevant to any allegation contained in CrossFit’s
  12 Complaint. Indeed, what NSCA pays for publishing services has absolutely no
  13 value to this case.
  14         Likewise, any royalties NCSA receives from LWW are equally irrelevant to
  15 this litigation. CrossFit, however, will likely contend that the royalty payments are
  16 relevant as they pertains to its damage claims. In other words, CrossFit will likely
  17 contend that the royalty payment (or some portion thereof) is attributable to the
  18 publication of the subject article and, CrossFit, should it be successful in this action,
  19 would therefore be entitled to the royalty payment (or some portion thereof). To
  20 find this argument persuasive, the Court will need to conclude that the royalty
  21 payment from LWW to NSCA is generated from the subject article. This, of course,
  22 is not the case. As seen from the agreement, the royalty payment consists of
  23 revenue from subject journal, the JSCR, and an additional journal, the SCJ,
  24 collected by LWW and actually received from LWW from all sources from all
  25 sources (i.e., membership subscription revenues, handling charges and air freight
  26 charges, advertising, reprints, back issues, etc.) In fact, the subject agreement makes
  27 no reference to the royalties being attributed to views of any particular article. And
  28 even if that were the case, the JSCR publishes hundreds of articles in a single year.

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   1 Thus, it is impossible to conclude that any portion of the royalty payment from
   2 LWW to NSCA is derived from viewing the subject article.
   3         In sum, the Court should not permit CrossFit to push a non-party to provide
   4 confidential information about a party, especially when there is no valid reason to
   5 permit disclosure of this information at all, even if it were requested directly from
   6 NSCA.
   7         CrossFit has attempted to change NSCA's motion into a discovery motion and
   8 requests attorneys' fees based thereon. [CA 17] This motion is properly brought
   9 under FRCP Rule 45, and not Rule 26. There is no basis for an award of attorneys'
  10 fees.
  11 II.     CROSSFIT, INC.’S ARGUMENT
  12         Throughout this litigation, the NSCA’s participation in discovery has been, at
  13 best, half-hearted. CrossFit has consistently challenged the adequacy of the
  14 NSCA’s discovery responses and completeness of the NSCA’s document
  15 productions. [See, e.g., Dkt. No. 32.] And to date, the NSCA has yet to produce
  16 documents consistent with the Court’s ESI Order despite being ordered to do so in
  17 July 2015. [Dkt. No. 58.] What the NSCA has done, however, is instruct a third-
  18 party within the NSCA’s control to not produce documents and information that
  19 illustrate a financial incentive for the NSCA’s alleged misconduct.
  20         In 2014, CrossFit, Inc. served the NSCA with various discovery requests
  21 focusing on the NSCA journal article at issue, the Devor Article. [Declaration of
  22 Paul A. Serritella in Support of CrossFit, Inc.’s Joint Discovery Motion (“Serritella
  23 Decl.”), ¶1.] During discovery, CrossFit, Inc. learned that LWW served as the
  24 publisher for the Journal of Strength and Conditioning Research (the “JSCR”), the
  25 NSCA journal containing the Devor Article. [Declaration of Justin S. Nahama in
  26 Support of CrossFit, Inc.’s Joint Discovery Motion (“Nahama Decl.”), ¶1.] In
  27 addition to publishing the JSCR, LWW hosts the Editorial Management System
  28 (“EMS”), the software program used to coordinate and record the JSCR’s peer-

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   1 review process that CrossFit, Inc. alleges the NSCA grossly manipulated to further
   2 its efforts to unfairly compete with CrossFit, Inc. [Id.]
   3         The NSCA failed to identify LWW as custodian in their Rule 26 Disclosures
   4 as an individual “likely to have discoverable information.” [Serritella Decl., ¶2.]
   5 In response to CrossFit, Inc.’s discovery requests, the NSCA produced documents
   6 on behalf of itself and its agents on September 4, 2014 and October 27, 2014.
   7 [Serritella Decl., ¶4.] CrossFit, Inc. observed numerous deficiencies in the NSCA's
   8 productions, including its failure to produce numerous documents of which CrossFit,
   9 Inc. was aware. [Id.] Those shortcomings were the basis of several Joint Motions,
  10 including one filed on December 18, 2014 (Dkt. No. 32). In that December 18, 2014
  11 joint discovery motion, the NSCA represented that the EMS and related LWW
  12 documents were within the NSCA’s control: "The NSCA has recently obtained the
  13 cooperation of the publisher of the JSCR (an entity separate and apart from the
  14 NSCA) to obtain the communications within the Editorial Manager in a native
  15 format so as to comply with the ESI Order." [Dkt. No. 32-2 at p.3 (Kenneth
  16 Kawabata December 18, 2014 Declaration); Serritella Decl., ¶5.]
  17         Further illustrating the NSCA’s control over LWW, the NSCA’s counsel
  18 represented that it would work with LWW to gather and produce LWW’s responsive
  19 documents in response to CrossFit, Inc.’s discovery requests. [Serritella Decl., ¶3.]
  20         In January 2015, after questioning the completeness of the NSCA’s document
  21 production as related to CrossFit, Inc.’s discovery requests, CrossFit, Inc.
  22 subpoenaed LWW. [Serritella Decl., ¶7, Ex. A.] In the email attaching the notice
  23 provided to the NSCA, CrossFit, Inc.’s counsel noted in part, “This subpoena of
  24 course does not affect the NSCA’s obligation to collect and produce all responsive
  25 documents that are in its possession, custody, or control, including those held by
  26 LWW.” [Id.]
  27         In contrast to the NSCA’s claim that was working cooperatively with LWW
  28 to collect responsive documents, CrossFit, Inc. later learned that the NSCA never

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   1 contacted LWW about the January 2015 subpoena. [Nahama Decl., ¶2.]
   2 Additionally, the NSCA never instructed LWW to place a litigation hold on
   3 discoverable documents, including documents maintained within the EMS. [Id.]
   4        After suspecting for a second time that the NSCA failed to produce critically-
   5 relevant documents from the EMS that would corroborate the misconduct alleged in
   6 CrossFit, Inc.’s complaint, CrossFit, Inc. issued LWW a second subpoena in
   7 October 2015. [Nahama Decl., ¶3, Ex. A.] CrossFit, Inc. served the NSCA with
   8 notice of the subpoena the same day. [Id.] LWW’s counsel was accommodating
   9 and began working with CrossFit, Inc. to gather responsive documents. [Nahama
  10 Decl., ¶4.] LWW’s counsel also confirmed that the NSCA’s counsel had never
  11 approached LWW in January 2015 about gathering responsive documents to
  12 CrossFit, Inc.’s first subpoena. [Id.] LWW then produced over two-hundred pages
  13 of documents strongly supporting CrossFit, Inc.’s claims and theories. [Id. at ¶5.]
  14 One of those documents was a redacted publishing agreement (“Publishing
  15 Agreement”). [Brandon Braga Decl., Ex. B-1.] The Publishing Agreement, among
  16 other things, provided that LWW paid the NSCA royalties based on JSCR sales.
  17 [Id. at ¶6.]
  18        Around the same time, CrossFit, Inc. also learned that the Devor Article
  19 received more and higher quality attention than any other JSCR article in the
  20 journal’s history. [Nahama Decl., ¶7, Ex. D.]
  21        Now that CrossFit, Inc. has confirmed its initial suspicions that the NSCA’s
  22 previous document productions were incomplete, the NSCA seeks to bury the
  23 Publishing Agreement by disavowing its relevance and making the untenable claim
  24 that it only learned of the issue in December 2015. As explained below, the
  25 NSCA’s Motion is untimely and should denied on that basis alone. If the Court
  26 does consider the NSCA’s Motion, it should be denied because the Publishing
  27 Agreement and related royalty payments to the NSCA are plainly relevant to
  28 CrossFit, Inc.’s claims because they provide direct evidence of motive to publish

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   1 false information and provide evidence supporting CrossFit, Inc.’s damages
   2 theories.
   3         A.    The Publishing Agreement and Underlying Financial Information
   4               are Discoverable and Relevant.
   5         The NSCA claims that the Publishing Agreement, and related underlying
   6 financial information illustrating that the NSCA received significant revenue from
   7 JSCR sales is irrelevant. The NSCA’s position misses the mark because the
   8 information at issue is both discoverable and relevant.
   9         The NSCA focuses on relevance rather than the appropriate discovery
  10 standard. As explained below, the Publishing Agreement and related financial
  11 information are relevant and certainly discoverable. Information is discoverable if
  12 it concerns: “any nonprivileged matter that is relevant to any party's claim or
  13 defense and proportional to the needs of the case . . . ." Fed. R. Civ. P. 26(b)(1).
  14 “Traditionally, the relevance requirement of Rule 26(b)(1) has been construed
  15 broadly,” and the 2015 Amendments to Rule 26 did nothing to change that
  16 traditional interpretation. Whit v. United Behavioral Health, 2016 U.S. Dist. LEXIS
  17 7242, *35-36 (N.D. Cal. Jan. 21, 2016) (“The Comments relating to the 2015
  18 Amendments explain that the purpose of the changes was to restore and reinforce
  19 the focus on proportionality in discovery but that the amendments did not change
  20 the existing responsibilities of the court and the parties to consider the
  21 proportionality.”).
  22         Here, the information at issue is both discoverable and relevant. When
  23 CrossFit, Inc. received the redacted Publishing Agreement from LWW, it was
  24 surprised to learn the NSCA received contractual royalty payments from LWW
  25 based on JSCR sales. [Nahama Decl. at ¶6; see also Braga Dec. at Exhibit B1, ¶10]
  26 Shortly thereafter, CrossFit, Inc. also learned that the Devor Article – the Article
  27 upon which CrossFit, Inc. bases its claims in this case – was one of the most
  28 viewed/purchased articles in the JSCR’s history. [See Nahama Decl., at ¶7, Ex.

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   1 D.] The NSCA therefore had a clear financial motive to publish the false
   2 information in the Devor Article because it stood to enjoy royalty revenues based
   3 upon the popularity of the article. The royalty payments and structure in the
   4 Publishing Agreement provide direct evidence of the benefits the NSCA received
   5 from its false advertising and unfair business practices. See Family Home & Fin.
   6 Ctr., Inc. v. Fed. Home Loan Mortg. Corp., 525 F.3d 822, 826 (9th Cir. 2008)
   7 (“Whether a business practice constitutes unfair competition under Cal. Bus. & Prof.
   8 Code § 17200 involves an examination of that practice's impact on its alleged
   9 victim, balanced against the reasons, justifications and motives of the alleged
  10 wrongdoer.") (emphasis added).
  11        Additionally, the NSCA’s royalty revenues from LWW are relevant to the
  12 measure of CrossFit, Inc.’s damages. CrossFit, Inc. has pled, and if successful at
  13 trial will be entitled to, disgorgement of the NSCA’s profits stemming from the
  14 NSCA’s false advertising and unfair business practices in connection with the Devor
  15 Article. See POM Wonderful LLC v. Purely Juice, Inc., 362 Fed. Appx. 557 (9th
  16 Cir. 2009) (noting that plaintiff awarded disgorgement of defendant’s profits in
  17 connection with plaintiff’s Lanham Act and §17500 false advertising claims and
  18 plaintiff’s §17200 unfair completion claim). Accordingly, the Publishing
  19 Agreement and royalty information are discoverable and relevant.
  20        B.     The NSCA Should Not Be Permitted to Bury the Evidence of
  21               Royalty Payments It Received Relating to the Devor Article.
  22        In its attempt to bury all evidence regarding JSCR royalties, the NSCA omits
  23 several important facts that provide complete context to the specific issue now
  24 before the Court.
  25        The NSCA has refused to produce the documents in its direct possession
  26 regarding the Publishing Agreement and royalty information for reasons that will be
  27 presented to the Court in a forthcoming joint discovery motion. The NSCA also has
  28 improperly instructed a third party, LWW, to not produce the Publishing Agreement

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   1 and royalty information in LWW’s possession, custody, or control.
   2        The NSCA’s claim that “CrossFit did not seek to enforce the subpoena until
   3 October 2015” is belied by the NSCA’s previous representations. Specifically,
   4 CrossFit, Inc. relied on representations from the NSCA’s counsel that they were
   5 proactively working with LWW in connection with discovery. [Serritella Decl. at
   6 ¶¶2-3 and Exhibit A] During discovery, however, CrossFit, Inc. learned
   7 information suggesting the NSCA had not completely produced documents in the
   8 EMS that CrossFit, Inc. believed would corroborate its allegations that the NSCA
   9 grossly manipulated the peer-review process.
  10        CrossFit, Inc. later learned that these documents, including logs and email
  11 correspondence, contained information directly relevant to CrossFit, Inc.’s claims.
  12 [See Nahama Decl. at ¶¶5,8.] CrossFit, Inc. learned in or around September 2015
  13 that the NSCA’s counsel never contacted LWW with respect to CrossFit, Inc.’s
  14 January 2015 subpoena. [Id. at ¶2.] CrossFit, Inc. also learned that the NSCA had
  15 not instructed LWW to preserve documents that may be relevant to this case and/or
  16 responsive to the January 2015 subpoena. [Id.] Tellingly, the NSCA admitted that
  17 it did not instruct LWW to apply a litigation hold until October 2015—10 months
  18 after CrossFit, Inc.’s January 2015 subpoena to LWW—after CrossFit, Inc. was
  19 pressing the NSCA for reassurances concerning the EMS documents. [Id. at ¶9, Ex.
  20 E.] CrossFit, Inc. eventually issued a second subpoena to LWW on October 1, 2015,
  21 in an attempt to discover the EMS and other discoverable documents the NSCA had
  22 failed to produce to CrossFit, Inc.
  23        LWW’s document production in response to the October 2015 subpoena
  24 validated CrossFit, Inc.’s suspicions that the NSCA either withheld discoverable
  25 documents or failed to diligently search for responsive documents. [Id. at ¶8.]
  26 For example, LWW’s production included logs from the JSCR’s Editorial
  27 Management System that provided new information on the peer-review process.
  28 [Id. at ¶8] The LWW-produced logs contained previously unproduced evidence

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   1 consistent with CrossFit, Inc.’s theory that the NSCA grossly manipulated the peer-
   2 review process for the Devor Article in furtherance of the NSCA’s efforts to
   3 unfairly compete with CrossFit, Inc. Further, LWW’s production included a
   4 redacted copy of LWW’s Publishing Agreement with the NSCA, the primary
   5 document at issue in the current Joint Motion. [Nahama Decl., ¶6.]
   6         It is untenable that “counsel for NSCA became aware that CrossFit, Inc. was
   7 demanding that LWW produce unredacted copies of the publishing agreements” for
   8 the first time on December 15, 2015. In reality, CrossFit, Inc.’s counsel served the
   9 NSCA’s counsel with Notice of the LWW subpoena on January 29, 2015. [See
  10 Braga Dec. ¶2, Exhibit A.] That subpoena commanded LWW to produce “[a]ll
  11 agreements, whether informal or formal, including drafts or proposed agreements
  12 between (a) [LWW] and (b) the NSCA, the JCSR,…” [Id. at Request No. 4.]
  13 Simply put, “unredacted copies of the publishing agreements” would have fallen
  14 within the scope of that request, and thus, the NSCA should have been aware that
  15 CrossFit, Inc. was seeking such documents as early as January 29, 2015. At best,
  16 the NSCA was asleep at the wheel. The NSCA woke up once LWW’s counsel
  17 indicated that it would produce the complete Publishing Agreement to CrossFit, Inc.
  18 if the NSCA did not seek and receive judicial intervention. [Nahama Decl., ¶11, Ex.
  19 G.]
  20         Finally, LWW has confirmed that they consider the Publishing Agreement at
  21 issue to be responsive to the subpoena and that any confidentiality concerns can be
  22 adequately protected by the Court’s existing Protective Order [Nahama Decl., Ex.
  23 F.] LWW has only withheld production based on the NSCA’s improper instruction.
  24 [Id.]
  25         Accordingly, the NSCA should not be permitted to instruct LWW to withhold
  26 information central to CrossFit, Inc.’s claims.
  27         C.    The NSCA Has No Viable Basis for the Relief It Requests.
  28         Fed. R. Civ. P. 45 provides no basis upon which the NSCA may quash or

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   1 modify the subpoena to third-party LWW. Instead, the only possible basis for the
   2 NSCA’s requested relief would be a protective order issued pursuant to Fed. R. Civ.
   3 P. 26(c) – a basis that is entirely omitted from the NSCA’s moving papers.
   4            1. The NSCA Waived Any Right it May Have Had to Object to the LWW
   5               Subpoena Pursuant to Fed. R. Civ. P. 45.
   6        Any objection to a subpoena made pursuant to Fed. R. Civ. P. 45 “must be
   7 served before the earlier of the time specified for compliance or 14 days after the
   8 subpoena is served.” Fed. R. Civ. P. 45(d)(2)(B). If a party fails to raise such an
   9 objection within this timeframe, that party’s objection is deemed waived. See Avila
  10 v. Cate, 2013 U.S. Dist. LEXIS 79941, *6-7 (E.D. Cal. June 6, 2013) (compelling
  11 production of documents because “the objections were untimely because they were
  12 not served either before the time specified for compliance or fourteen days after the
  13 subpoena was served, whichever was earlier.”).
  14        Here, the NSCA’s counsel received Notice of the first LWW subpoena on
  15 January 29, 2015. [Braga Dec. ¶2, Exhibit A.] At that time, the NSCA was aware
  16 that CrossFit, Inc. was seeking copies of the NSCA’s agreements with LWW,
  17 including the Publishing Agreement at issue in the current Joint Motion. Despite
  18 this knowledge, the NSCA failed to raise any objection to the subpoena within the
  19 time provided for in Fed R. Civ. P. 45(d)(1)(B), and thus, the NSCA has waived any
  20 objection to the LWW subpoena pursuant to Fed. R. Civ. P. 45. See Avila, 2013
  21 U.S. Dist. LEXIS 79941 at *6-7.
  22            2. Even if the NSCA Had Not Waived its Fed. R. Civ. P. 45 Objection,
  23               The NSCA’s Request Is Premised on Misguided Arguments and Must
  24               be Denied.
  25        As a general rule, a party lacks standing under Fed. R. Civ. P. 45 “to
  26 challenge a subpoena issued to a non-party unless the party claims a personal right
  27 or privilege with respect to the documents requested in the subpoena.” In re Remec,
  28 Inc., 2008 U.S. Dist. LEXIS 47412, *4 (S.D. Cal. May 30, 2008). “A party’s

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   1 objection that a subpoena to a nonparty seeks irrelevant information or would
   2 impose an undue burden are not grounds on which a party has standing to move to
   3 quash a subpoena when the non-party has not objected.” Wells Fargo and Co. v.
   4 ABD Ins., 2012 U.S. Dist. LEXIS 173365, *6 (N.D. Cal. Dec. 6, 2012). In the
   5 absence of a joining objection by the non-party witness, the party’s “only cognizable
   6 basis for quashing the subpoena is that it seeks privileged or confidential
   7 information.” Rankine v. Roller Bearing Co. of Am., Inc., 2013 U.S. Dist. LEXIS
   8 109827, *12 (S.D. Cal. Aug. 5, 2013).
   9           Here, the NSCA’s primary argument is that the “requested information has no
  10 relevance to the case.” [See infra., Section I.E] Even if that were true – which it is
  11 not – relevance and/or undue burden are not grounds upon which the NSCA may
  12 object to the LWW subpoena. See Wells Fargo, 2012 U.S. Dist. LEXIS 173365 at
  13 *6. Instead, the only cognizable basis for quashing the LWW subpoena would be a
  14 claim that the subpoena seeks privileged or confidential information. See Rankine,
  15 2013 U.S. Dist. LEXIS 109827 at *12. For this reason, the vast majority of the
  16 NSCA’s argument is inapposite and provides no support for the NSCA’s requested
  17 relief.
  18           Beyond its relevance arguments, the NSCA does devote three sentences
  19 claiming “the NSCA’s financial information is confidential and private.” [See infra.
  20 at Section I.D] Upon further scrutiny, however, this argument is merely a reiteration
  21 of the NSCA’s primary “relevance/undue burden” argument because it is premised
  22 upon a misinterpretation of this Court’s prior Order re Joint Motion for
  23 Determination of Discovery Dispute. [Dkt. No. 58] Nowhere in its prior Order did
  24 the Court find that the NSCA’s revenue and business plans “are confidential, subject
  25 to a right to privacy, and that disclosure of the same were not relevant to CrossFit’s
  26 case,” as the NCSA suggests. Instead, the Court found that “[s]ince Document
  27 Request No. 30 is overly broad and unduly burdensome and there is insufficient
  28 information for the Court to determine appropriate time and scope limitations for

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   1 this request, the Court declines to issue an order compelling defendant to provide a
   2 further response to this request.” [Dkt. No. 58 p. 9, ln. 23-27] [emphasis added]
   3 Accordingly, the Court’s prior Order lends no support for the NSCA’s argument in
   4 the current Joint Motion. See Wells Fargo, 2012 U.S. Dist. LEXIS 173365 at *6.
   5             3. The NSCA Has Neither Argued Nor Illustrated That it is Entitled to a
   6                Protective Order Pursuant to Fed. R. Civ. P. 26.
   7        In the absence of any available relief pursuant to Fed. R. Civ. P. 45, “a party
   8 may seek a protective order pursuant to Rule 26(c) regarding a subpoena issued to a
   9 non-party if it believes its own interest is jeopardized by the discovery sought from
  10 the non-party.” Wells Fargo, 2012 U.S. Dist. LEXIS 173365 at *6. To be entitled
  11 to such a protective order under Fed. R. Civ. P. 26(c), a party must make a “showing
  12 of good cause” that limiting the requested discovery is necessary “to protect a party
  13 or person from annoyance, embarrassment, oppression, or undue burden or
  14 expense.” Id. at *7 (quoting Fed. R. Civ. P. 26). Such a showing cannot be
  15 premised upon the assertion that the requested documents or information are
  16 irrelevant to the requesting party’s case. Bender v. Tropic Star Seafood, Inc., 2008
  17 U.S. Dist. LEXIS 88102, *10 (N.D. Fl. July 21, 2008) (“A party is not subjected to
  18 ‘annoyance, embarrassment, oppression, or undue burden or expense’ when the
  19 opposing party uses a Rule 45 subpoena to gather irrelevant documents from a non-
  20 party.”).
  21        Here, the NSCA has made no reference to the “annoyance, embarrassment,
  22 oppression or undue burden or expense” standard articulated in Fed. R. Civ. P. 26.
  23 In fact, the NSCA’s moving papers do not reference Fed. R. Civ. P. 26.
  24        However, if the Court were inclined to morph the NSCA’s request into
  25 something consistent with the applicable rules, the NSCA still fails to provide
  26 evidence justifying its instruction to LWW. As set forth above, the NSCA’s
  27 argument focuses on relevance. The NSCA’s myopic focus on relevance does not
  28 provide a valid basis to grant the NSCA a protective order pursuant to Fed. R. Civ.

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   1 P. 26. See Bender, 2008 U.S. Dist. LEXIS 88102 at *10 (“A party is not subjected
   2 to ‘annoyance, embarrassment, oppression, or undue burden or expense’ when the
   3 opposing party uses a Rule 45 subpoena to gather irrelevant documents from a non-
   4 party.”). Indeed, nothing in the NSCA’s motion papers even hints at how LWW
   5 producing the Publishing Agreement would result in “annoyance, embarrassment,
   6 oppression or undue burden or expense” for the NSCA so as to satisfy the “good
   7 cause” requirement of Fed. R. Civ. P. 26(c). Perhaps most telling, LWW confirmed
   8 that it believes the parties’ existing protective order will protect against any
   9 confidentiality concerns. [Nahama Decl., Ex. F.]
  10               For these reasons, the NSCA’s request must be denied.
  11         D.    CrossFit, Inc. is Entitled to Recover its Reasonable Expenses in
  12               Connection with this Joint Motion.
  13         As described above, the NSCA’s request is not a request to quash or modify
  14 the LWW subpoena pursuant to Fed R. Civ. P. 45, but rather a request for a
  15 protective order pursuant to Fed. R. Civ. P. 26. As such, if the NSCA’s motion is
  16 denied, the Court must award CrossFit, Inc. its reasonable expenses, including
  17 attorneys’ fees, in connection with this Joint Motion. See Fed. R. Civ. P. 26(c)(3)
  18 (“Rule 37(a)(5) applies to the award of expenses” with respect to motions for
  19 protective orders); Fed. R. Civ. P. 37(a)(5) (“If the motion is denied, the court …
  20 must, after giving an opportunity to be heard, require the movant, the attorney filing
  21 the motion, or both to pay the party or deponent who opposed the motion its
  22 reasonable expenses incurred in opposing the motion, including attorney's fees.”).
  23 CrossFit, Inc. respectfully requests $10,000 in connection with the reasonable
  24 expenses incurred with opposing this motion. [Nahama Decl., ¶12.]
  25         E.    CrossFit, Inc. Requests an Order Compelling LWW to Produce the
  26               Un-Redacted Publishing Agreement and Related Royalty
  27               Information.
  28         For the foregoing reasons, CrossFit, Inc. respectfully requests that the Court

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   1 deny the NSCA’s motion in full. Because LWW has indicated they will only
   2 produce the un-redacted Publishing Agreement if the Court does not grant the
   3 NSCA’s motion, CrossFit, Inc. also requests an order compelling LWW to produce
   4 the complete Publishing Agreement and related royalty-payment information
   5 detailing royalties paid to the NSCA in connection with the JSCR in 2013, 2014,
   6 2015, and 2016.
   7
   8
   9 DATED: February ___, 2016          MANNING & KASS
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